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           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                   CENTRAL DIVISION




 UNITED STATES OF AMERICA,
        Plaintiff,                                   MEMORANDUM DECISION AND
                                                     ORDER DENYING IN PART
                                                     DEFENDANT RAMIREZ’S
                                                     MOTION IN LIMINE OBJECTING
                                                     TO GOVERNMENT’S EXPERT
                                                     DISCLOSURE


                vs.


 SALVADOR RAMERIZ and MIGUEL                         Case No. 2:09-CR-784 TS
 ANGEL CHAVEZ,
        Defendants.




       Defendant Rameriz objects to the government’s November 3, 2010 Notice of Intent

to Call Expert Witnesses at trial on the grounds that it does not meet the requirements of

Fed. R. Crim. P. 16(a)(1)(G), because it is untimely, the disclosure is overbroad, the

evidence has not been shown to be relevant, and does not put Defendant on notice of the

substance of the testimony. Defendant Ramirez argues that he is prejudiced by the late

disclosure because there is insufficient time before trial.

       The government’s notice provides only the following information:



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       Special Agent Roe (Retired) and Special Agent Lark will be called primarily
       as fact witnesses, if called at all. Nevertheless, they and Special Agents Cox
       and Holliday, may also be called upon to offer opinions about different
       aspects of the narcotics counterculture: cultivation methods and means;
       trafficking methods and means; market value; organizational structure;
       terminology; vernacular; ingestion; paraphernalia identification; drug
       recognition, and the like.
       Detective Triplett may be called to testify regarding fingerprints as follows:
       the process of obtaining fingerprints, the process of analyzing fingerprints;
       the likelihood of success in various circumstances; and the actual analysis
       of firearms seized in this case.
       Unless a stipulation is agreed upon, Ms. Huntington--a trained forensic
       chemist--may be called to testify regarding the quantity and quality drug
       samples seized in this case. All such opinions will be based upon expert
       knowledge--that is, specialized, technical training and extensive professional
       experience.1

       The government responds that its notice of intent to call expert witnesses was

largely filed in an excess of caution, that it agrees to call four of the six listed expert

witnesses as largely fact witnesses, that it did not know until recently that an expert would

be required to establish that the substance at issue is marijuana, and finally, as to the one

new expert on marijuana growing, it provides additional disclosure. The government also

represents that it does not intend to offer an expert on gang activity.

       The Tenth Circuit set forth the standards connected with expert disclosure in

connection with Fed. R. Crim. P. 16(a)(1)(G), in United States v. Brown2:

       Rule 16(a)(1)(G) requires that, at the defendant's request, the government
       “must give to the defendant a written summary of any testimony that the
       government intends to use under Rules 702, 703, or 705 of the Federal
       Rules of Evidence during its case-in-chief at trial.” Fed.R.Crim.P. 16(a)(1)(G).
       The rule also stipulates the content of such a written summary: it must


       1
           Docket No. 246 at 2.
       2
           592 F.3d 1088 (10th Cir. 2010).

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       include the expert's qualifications, describe her opinions, and state “the
       bases and reasons for those opinions.”

       If a party fails to comply with a discovery request, the district court may order
       sanctions, including (1) issuance of an order demanding compliance, (2)
       grant of a continuance, (3) exclusion of undisclosed evidence, or (4) the
       imposition of any other just order. Fed.R.Crim.P. 16(d)(2). In deciding which
       sanction is proper, the district court should “typically consider” three factors:
       (1) the reason for the government's delay in production; (2) the extent of
       prejudice to the defendant as a result of the delay; and (3) the feasibility of
       curing the prejudice with a continuance. “The court should impose the least
       severe sanction that will accomplish prompt and full compliance with the
       discovery order.” Finally, “district courts have broad discretion in imposing
       sanctions on parties who violate discovery orders, and we review a court's
       decision to impose sanctions and its choice of sanction for abuse of
       discretion.”3

       The Tenth Circuit has also explained that the remedy sought by Defendant Ramirez,

exclusion of the expert evidence, “is extreme” and “is almost never imposed ‘in the

absence of a constitutional violation or statutory authority for such exclusion.’”4

       The Court finds that where the government will limit the testimony of Agents Roe,

Lark and Cox to that of fact witnesses in its case in chief, and does not intend to call

Detective Triplett in its case in chief, there is no failure to comply with the Rule or prejudice

to the Defendant. For the purposes of context and background, some limited testimony

may be elicited by the government based on the experience and training of these officers




       3
       Id. at 1090 (quoting United States v. Russell, 109 F.3d 1503, 1511 (10th Cir.
1997); United States v. Ivy, 83 F.3d 1266, 1280 (10th Cir. 1996); and United States v.
Gonzales, 164 F.3d 1285, 1291 (10th Cir. 1999)).
       4
        Id. at 1090, n. 4 (quoting United States v. Charley, 189 F.3d 1251, 1262 (10th
Cir. 1999)).

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as it relates to their fact testimony. However, the government will be expected to comply

with its proffered “self-imposed limitations” as to those witnesses.

       As to the DEA Laboratory Chemist, the Court finds that the issue of the identity of

the substance is a subject that is commonly the subject of a stipulation and, therefore,

there is no indiction that the government should have known that it would be required to

establish this fact by expert testimony at an earlier time. The chemist’s qualifications are

fully set forth in the attachment to the government’s notice. The Court finds that the subject

of identification of the substance grown is very relevant to the issues to be determined by

the jury within the meaning of Fed. R. Evid. 401; that the scientific knowledge of a forensic

chemist will assist the jury to determine facts in issue, and that there is nothing to challenge

the qualifications of the government’s forensic chemist to testify as an expert on the identity

of the substance. The Defendant does not proffer how he will be prejudiced by the delay

in naming the chemist and does not argue that he needs to obtain its own counter-expert

on the issue of identification of the substance. Therefore, Defendant has not shown any

prejudice and the expert testimony of the forensic chemist should be allowed.

       As to Agent Holliday, the government proffers that it only recently determined that

it would be helpful to the jury to have an expert on cultivation methods and market value.

It proffers that Agent Holliday will be part of its case-in-chief. Agent Holliday’s qualifications

are set forth in the attachment to the government’s Notice, and include several years

experience in marijuana eradication courses and Cannabis Eradication/Suppression

programs and task forces.




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       In its response, the government also provides additional information about his

expected testimony including that the area at issue shared the physical characteristics of

a typical marijuana-garden, the cultivation process for marijuana, and its specific market

value. The government proffers that such testimony will be helpful to the jury on issues

such as opportunity and motive.

       The Court finds that this testimony is relevant to issues to be determined by the jury,

that Agent Holliday appears to be qualified by experience and training on these issues, and

that the anticipated subject matter of his testimony is not with the common experience of

the average juror and, therefore, will assist the jury. The information now provided

complies with Rule 16(a)(1)(g)’s requirement the notice state the “the bases and reasons

for those opinions.”5 However, because the more specific information required by Rule

16 was only provided in the response, Defendant has not had an opportunity to argue that

it needs its own counter-expert or to proffer the time needed to rebut such expected

evidence—if it will be disputed. Therefore, the Court will deny Defendant’s motion to

exclude the expert testimony subject to the limitations proposed by the government and

the ability of Defendant to argue any prejudice from Agent Holliday’s expert testimony. It

is therefore




       5
        See United States v. Duvall, 272 F.3d 825, (10th Cir. 2001) (holding that “the
rule requires a summary of the expected testimony, not a list of topics”).

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      ORDERED that Defendant’s Motion in Limine Objecting to the Government’s Expert

Disclosure (Docket No. 261) is DENIED IN PART as set forth above.

      DATED November 12, 2010.

                                      BY THE COURT:


                                      _____________________________________
                                      TED STEWART
                                      United States District Judge




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